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              Exhibit F
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 HORACE CLAIBORNE, SONJIA MONIQUE
 BOWLIN, TYSHAWN WALKER, WILLIE                        No. 2:18-cv-01698-RJC
 SEALS, FREDERICK EPPICH, JEROME
 SCHOOLFIELD, KRISTINA TRAVIS,                         JURY DEMANDED
 JEREMY WINKELS, ARTHUR FOSTER III,
 ERNESTO DIAZ, GERALD GENSOLI, and
 THOMAS DEPPIESSE,

                Plaintiffs,

        v.

 FEDEX GROUND PACKAGE SYSTEM,
 INC.,

                Defendant.


     PLAINTIFF JEROME SCHOOLFIELD’S SUPPLEMENTAL RESPONSES TO
       DEFENDANT FEDEX GROUND’S FIRST SET OF INTERROGATORIES

       Plaintiff Jerome Schoolfield hereby supplements his responses to the interrogatories

propounded by Defendant FedEx Ground Package System, Inc. (“FedEx”). Plaintiff reserves his

right and will meet his obligation to further supplement his responses if and when necessary.

                                   GENERAL OBJECTIONS

       Plaintiff’s responses to these interrogatories are subject to the General Objections set

forth below. These objections are incorporated into the response to each and every interrogatory

and are set forth in this manner to avoid duplication and restatement. For the purpose of clarity,

the responses to certain Interrogatories may refer specifically to one or more General Objections.

The failure to incorporate specifically a General Objection into a response, however, is not a

waiver of the General Objection.

   1. Plaintiff objects to each interrogatory to the extent that it seeks information subject to a

       privilege, including without limitation the attorney-client privilege.

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INTERROGATORY NO. 12:

Identify and describe the method, manner, and medium through which any Service Provider

provided you copies of or access to any payroll, hours, benefits, or other compensation-related

documents or information, including without limitation identification of any online systems,

applications, direct deposit to your bank, or other methods of access previously used or currently

available to you to access such information.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 12: Plaintiff objects to

this interrogatory on the grounds that it is vague and ambiguous, overly broad, and unduly

burdensome. Subject to and without waiving this objection, Plaintiff states that he is currently

paid by Truck Dynasty via direct deposit, and that he receives his paystubs via email from Truck

Dynasty’s payroll department. At Frontline Delivery Services, Plaintiff used an app called Gusto

to access his paystubs. Plaintiff further states that in the past he has been paid online via

Quickbooks.



INTERROGATORY NO. 13:

Identify and describe the method, manner, and medium through which your Service Provider

employers had you keep track of your time worked and how you submitted that time to your

Service Providers, including without limitation identification of any phone, iPad or other

applications, hard-copy time cards, photos of time records taken with your phone, etc.

OBJECTION AND RESPONSE TO INTERROGATORY NO. 13: Plaintiff objects to this

interrogatory on the grounds that it is vague and ambiguous. Subject to and without waiving this

objection, Plaintiff states that at Truck Dynasty, he is required to track his hours by logging in

and out each day to a system called Homebase. Plaintiff was not required to track his hours at



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AS TO ALL ANSWERS,

       The foregoing answers are true and accurate to the best of my knowledge. Signed under

the pains and penalties of perjury this 19th day of August, 2024.



                                             ______________________________
                                             Jerome Schoolfield




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AS TO ALL OBJECTIONS,

Dated: August 19, 2024              Respectfully submitted,

                                    HORACE CLAIBORNE, SONJIA MONIQUE
                                    BOWLIN, TYSHAWN WALKER, WILLIE
                                    SEALS, FREDERICK EPPICH, JEROME
                                    SCHOOLFIELD, KRISTINA TRAVIS, JEREMY
                                    WINKELS, ARTHUR FOSTER III, ERNESTO
                                    DIAZ, GERALD GENSOLI, and THOMAS
                                    DEPPIESSE

                                    By their attorneys,

                                    /s/ Shannon Liss-Riordan__________
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